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 8
 9                                 UNITED STATES DISTRICT COURT
10          NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
11   SOFIE KARASEK, individually;                    )   Case No: 3:15-cv-03717-WHO
     NICOLETTA COMMINS, individually;                )
12   ARYLE BUTLER, individually;                     )
                                                     )   PLAINTIFFS’ UNOPPOSED MOTION
13                   Plaintiffs,                     )   TO COMPEL FURTHER
                                                     )   PRODUCTION OF DOCUMENTS RE
14           vs.                                     )   DEFENDANT’S RESPONSE TO
                                                     )   PLAINTIFFS’ REQUEST FOR
15   THE REGENTS OF THE UNIVERSITY                   )   PRODUCTION OF DOCUMENTS, SET
     OF CALIFORNIA, a public entity, and             )   ONE
16   DOES 1 through 100, inclusive,                  )
                                                     )
17                    Defendants.                    )
                                                     )   Date: March 23, 2016
18                                                   )   Time: 2:00pm
                                                     )   Place: Courtroom 2, 17th Floor
19                                                   )   Judge: Hon. William H. Orrick
                                                     )
20
21
22                                       NOTICE OF MOTION

23          Plaintiffs hereby move this Court to compel Defendant to produce documents responsive

24   to Plaintiffs’ Request for Production of Documents, Set One that are protected by the

25   confidentiality provisions of the Family Educational Rights and Privacy Act. Plaintiffs are

26   seeking this order on the grounds that the information contained in the documents is vital to

27   Plaintiffs’ ability to support their claims, and Plaintiffs’ need for the documents outweighs any

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 1   privacy interest held by the affected students. The Parties have met and conferred on this issue,

 2   and Defendant has agreed not to oppose Plaintiffs’ motion. This motion is based on this Notice

 3   of Motion and Motion, the Memorandum of Points and Authorities filed herewith, the

 4   declaration of Irwin M. Zalkin, the pleadings and papers filed herein, and upon any such other

 5   matters as may be presented to the Court at the time of the hearing.

 6
 7                       MEMORANDUM OF POINTS AND AUTHORITIES
 8      I.       INTRODUCTION
 9      This case arises out of the alleged inadequate response by The University of California,
10   Berkeley (“University”) and Defendant Regents of the University of California (“Regents”), in
11   response to each Plaintiff’s report that she had been sexually assaulted, in violation of Title IX.
12   On September 24, 2015, Defendant filed a Rule 12(b)(6) Motion to Dismiss (“Motion to
13   Dismiss”) Plaintiffs’ Second Amended Complaint. The Court granted Defendant’s Motion to
14   Dismiss as to Plaintiff Karasek’s and Plaintiff Commins’ claims, but gave Plaintiffs leave to
15   amend in order to address the deficiencies this Court found in Plaintiffs’ Second Amended
16   Complaint. Subsequently, the Parties engaged in a case management conference with the Court
17   in order to discuss discovery in response to the Court’s ruling on Defendant’s Motion to
18   Dismiss. During this case management conference, the Court indicated that the Parties should
19   engage in formal discovery to address the issues raised by the Court’s memorandum of opinion
20   regarding Defendant’s Motion to Dismiss. (Declaration of Irwin M. Zalkin at ¶ 2.)
21            The Parties met and conferred with regard to a process for engaging in discovery.
22   Pursuant to the agreed to procedure, Plaintiffs served Defendant with a Request for Production
23   of Documents, Set One (“RFP”) and Special Interrogatories, Set One (together “Discovery
24   Request”) on December 22, 2015. Defendant responded to Plaintiffs’ Discovery Request on
25   January 15, 2016, but did not produce any documents at that time as the parties were still
26   negotiating the terms of a protective order. Defendant informed Plaintiffs that no documents
27   referencing any students could be produced, because the documents and information contained
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 1   therein were subject to the confidentiality provisions of the Family Educational Rights and

 2   Privacy Act of 1974 (“FERPA”). (Decl. of Irwin M. Zalkin at ¶ 4.) Pursuant to FERPA,

 3   educational documents and records cannot be produced absent written consent from the

 4   potentially affected student, a judicial order, or a lawfully issued subpoena. 20 U.S.C. §

 5   1232g(b)(2).

 6      Plaintiffs have provided written consent to Defendant for the release of their own FERPA

 7   protected information, and Defendant has produced the documents form Plaintiff Karasek’s and

 8   Plaintiff Commins’ files accordingly. These files contain minimal documents. Defendants have

 9   indicated that the majority of the documents relating to Defendants actions in response to

10   Plaintiffs’ complaints are contained in the files of the alleged student assailants. (Decl. of Irwin

11   M. Zalkin at ¶ 5.) Defendant has indicated that it is in possession of additional documents

12   responsive to Plaintiff’s RFP, but cannot produce those documents because they would

13   implicate the FERPA protections of other students. Because the documents and information

14   sought by Plaintiffs’ is necessary for Plaintiffs’ to support their claims, and outweighs any

15   privacy interests held by the potentially affected students, this Court should order Defendant to

16   produce all responsive documents, including any that may be protected by FERPA.

17      II.     ARGUMENT

18      The sole issue presented by the instant Motion, is whether the FERPA protected documents

19   responsive to Plaintiffs' RFP can be ordered produced by this Court. There is very little

20   authority addressing the issue of when FERPA protected documents may be ordered produced.

21   Courts have held that the disclosure of FERPA protected information is appropriate when that

22   information is necessary for the plaintiffs to prove their claim. Rios v. Read, 73 F.R.D. 589

23   (E.D.N.Y. 1977); see also Ellis v. Cleveland Mun. Sch. Dist., 309 F. Supp. 2d 1019, 1023 (N.D.

24   Ohio 2004) (acknowledging that “…while FERPA was intended to prevent schools from

25   adopting a policy or engaging in a practice of releasing educational records, it does not, by its

26   express terms, prevent discovery of relevant school records under the Federal Rules of Civil

27   Procedure).

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 1      A party seeking disclosure of education records protected by FERPA bears “a significantly

 2   heavier burden . . . to justify disclosure than exists with respect to discovery of other kinds of

 3   information, such as business records.” Rios, 73 F.R.D. at 598. In Rios, the plaintiffs brought

 4   suit claiming discrimination on the basis of race, in violation of Title VI of the Civil Rights Act

 5   of 1964, for the educational institution’s failure to provide programs to address the Hispanic

 6   students’ English language deficiencies. Id. at 590. Citing FERPA, the defendant refused to

 7   produce certain documents evidencing the identifying information of several students, though

 8   they provided other content, including the test scores, grades and schedules of the unidentified

 9   students.    Id. at 592.   The plaintiffs argued that the student identifying information was

10   necessary because they needed to be able to match up the various data in the documents

11   produced with the racial background of the student in order to establish their claim of racial

12   discrimination. Id. After a lengthy analysis of FERPA’s legislative history, the court agreed

13   with the plaintiffs, and held that the plaintiffs’ genuine need for the FERPA protected

14   information outweighed the privacy interests of the students. Id. at 599.

15      As in Rios, Plaintiffs here need the FERPA protected documents in order to prove their

16   claims. Defendant has already indicated that it is in possession of documents responsive to

17   Plaintiffs’ various requests to produce documents evidencing all actions that it took in response

18   to Plaintiffs’ respective reports that they had been sexually assaulted. Moreover, this Court

19   indicated that it expected the Parties to engage in discovery, specifically on the issue of what

20   Defendant did in response to each Plaintiffs’ report of sexual assault.        In order to plead

21   allegations sufficient to address the concerns raised by this Court in partially granting

22   Defendant’s Motion to Dismiss, Plaintiffs must be able to have access to the FERPA protected

23   documents.

24      Like in Rios, Plaintiff’s need for the FERPA documents here outweighs the affected

25   students’ rights to privacy. However, to the extent this Court is concerned about the identified

26   students’ privacy rights, the Parties have already agreed to allow Defendant twenty days from

27   the date that this Court orders the records produced, in which to provide notice to the affected

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 1   students that it has been ordered to produce documents which may implicate the students’ rights

 2   under FERPA. See 34 C.F.R. § 99.31 (providing that an educational institution may disclose

 3   FERPA protected records pursuant to judicial order or subpoena only if the “institution makes a

 4   reasonable effort to notify the parent or eligible student of the order or subpoena in advance of

 5   compliance, so that the parent or eligible student may seek protective action”). This will give

 6   each student an opportunity to object, and allow Defendant to fulfill its obligations under

 7   FERPA.

 8         III.   CONCLUSION

 9         The information contained in the responsive documents being held by Defendant pursuant to

10   FERPA is paramount to Plaintiffs’ ability to support their claims. Because Plaintiffs’ ability to

11   make their respective cases outweighs the privacy interest of any students who may be

12   identified, this Court should order Defendant to produce all FERPA protected documents

13   responsive to Plaintiffs’ RFP.

14    ///

15   ///

16
17
18   Dated: February 18, 2016                            Respectfully submitted,

19                                                       THE ZALKIN LAW FIRM, P.C.
20                                                       IRWIN M. ZALKIN
                                                         DEVIN M. STOREY
21                                                       ALEXANDER S. ZALKIN
                                                         RYAN M. COHEN
22
23
24                                                By:     /s/ Alexander S. Zalkin
                                                         Alexander S. Zalkin
25                                                       Attorneys for Plaintiffs

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